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                  IN THE UNITED STATES DISTRICT CO1t±RrP6
                                                     '. L.. J L..
                      THE MIDDLE DISTRICT OF ALABAMA
                                                 ' ZUIb APR-b P j:5
                                                       DEBRA P. HACKETT. LK I
                                                        U.S. rnSTRICT CULJT
         Plaintiff,                                    tUDDLE D1STRCT ALA

     	
VA                                                CIVIL ACTION NUMBER:

WILLIAMS PLANT SERVICES,
LLC,
                                 	
                                                  IM Affora"t'XII,
         Defendant.

                       DEFENDANT'S NOTICE OF-REMOVAL

         Pursuant to 28 U.S.C. § 1441 and 1446, Defendant Williams Plant

Services, LLC ("Williams" or "Defendant"), appearing specially so as to preserve

any and all defenses under Rule 12 of the Federal Rules of Civil Procedure, hereby

removes case number 38-CV-2016-900009 from the Circuit Court of Houston

County, Alabama, where it is now pending, to the United States District Court for

the Middle District of Alabama. As grounds for its removal, Williams states as

follows:

                      I. SERVICE AND TIMELINESS OF REMOVAL

         1. Plaintiff filed the present action (case number 38-CV-2016-900009)

on or about January 13, 2016, in the Circuit Court of Houston County, Alabama

against Williams.
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       2.	      Williams was served with the Summons and Complaint on March 7,

2016. A true and correct copy of all process, pleadings and papers served on

Defendant in the state court action are attached hereto as Exhibit 1, including the

Summons and Complaint, and are incorporated herein by reference. See 28 U.S.C.

§ 1446(a). Williams has not pled, answered or otherwise appeared in the state

court action.

       3.       This Complaint constitutes a civil action within the meaning of the

Acts of Congress governing the removal of cases from a state court to a federal

district court.

       4.       This Notice of Removal is timely because it is filed within thirty (30)

days after service of plaintiffs Complaint as required by 28 U.S.C. § 1446(b). See

Murphy Brothers, Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 3 57-59

(1999) ("[A] named defendant's time to remove is triggered by the simultaneous

service of the summons and complaint...

       5.       This Notice of Removal is filed within the district and division in

which the state court action is pending. See 28 U.S.C. § 1446(a).

       6.       In accordance with 28 U.S.C. § 1441, Williams gives notice of the

removal of this action from the Circuit Court of Houston County, Alabama to the

United States District Court for the Middle District of Alabama. A copy of this

Notice is attached hereto as Exhibit 2.


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        7.	    Pursuant to 28 U.S.C. § 1446(d), Williams has served its Notice of

  Removal on all parties by U.S. Mail, and Williams has filed by U.S. Mail this

  Notice with the Clerk of the Circuit Court of Houston County, Alabama.

       II. PLAINTIFF'S COMPLAINT PRESENTS A FEDERAL QUESTION

	8.	           Plaintiffs Complaint is a civil action that is properly removable

  pursuant to 28 U.S.C. § 1441, which provides in pertinent part as follows:

               (a) Except as otherwise expressly provided by Act of
               Congress, any civil action brought in a State court of
               which the district courts of the United States have
               original jurisdiction, may be removed by the defendant or
               the defendants, to the district court of the United States
               for the district and division embracing the place where
               such action is pending. For purposes of removal under
               this chapter, the citizenship of defendants sued under
               fictitious names shall be disregarded.

               (b) Any civil action of which the district courts have
               original jurisdiction founded on a claim or right arising
               under the Constitution, treaties or laws of the United
               States shall be removable without regard to the
               citizenship or residence of the parties. Any other such
               action shall be removable only if none of the parties in
               interest properly joined and served as defendants is a
               citizen of the State in which such action is brought.
        9. This action is properly removable under 28 U.S.C. § 1441(a) and (b)

  because this United States District Court has original jurisdiction of this case under

  28 U.S.C. § 1331, which provides in pertinent part:

               (a) The district courts shall have original jurisdiction
               of all civil actions arising under the Constitution, laws, or
               treaties of the United States.

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       10.    Plaintiff alleges breach of an alleged employment contract under

which he seeks payment of overtime at the rate of $74.02 per hour (time and a half

based on his hourly rate of $4935). Exhibit 1 (Compl., at 2). However, the

"contract" at issue is a June 2, 2011, offer letter which clearly references the Fair

Labor Standards Act ("FLSA") as the basis for any such pay calculations.' Exhibit

3 at Exhibit A (copy of offer letter constituting the "contract" referenced on face of

Complaint attached to Declaration of Monte McDowell). That referenced

"contract" states Plaintiff is "classified as non-exempt from the requirements of the

[FLSA]" while identifying the hourly and overtime compensation rates sought by

Plaintiff. Id. Moreover, Alabama has no state overtime laws which would address

overtime owed or its calculation.

       11.    Because Plaintiff seeks overtime calculable under the FLSA on the

face of his Complaint, and because the FLSA is federal law, Plaintiff's claims fall

under federal question jurisdiction and therefore are subject to removal to federal

court. See Holmes Group, Inc. v. Vornado Air Circulation Systems, Inc., 535 U.S.

826, 830 (2002) (whether a case "arises under" federal law for original jurisdiction

purposes is tested by the "well-pleaded complaint" rule which requires federal

courts to consider only what necessarily appears in plaintiff's statement of his or

her claim). See also Rivet .v. Regions Bank of Louisiana, 522 U.S. 470, 475 (1998)

 Defendant does not concede that this offer letter is an employment agreement or makes
Plaintiff anything other than an employee at will.
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(whether the claim "arises under" federal law for removal purposes is determined

by the same "well-pleaded complaint rule" that determines original federal

question jurisdiction).

       12.   Accordingly, removal is proper under 28 U.S.C. § 1441 and 1446, as

Plaintiff clearly alleges on the face of his complaint and its incorporated

documents that his claims for overtime arise under the Fair Labor Standards Act.

See Exhibits 1, 3.

     III. PLAINTIFF'S COMPLAINT IS REMOVABLE AS DIVERSITY
                      EXISTS BETWEEN THE PARTIES

       13.   Alternatively, this action is properly removable under 28 U.S.C.

§ 1441(a) and (b) because this United States District Court has original jurisdiction

of this case under 28 U.S.C. § 1332, which provides in pertinent part:

             (a) The district courts shall have original jurisdiction
             of all civil actions where the amount in controversy
             exceeds the sum or value of $75,000, exclusive of
             interest and costs, and is between -
                     (1) citizens of different States.
       14.   This matter meets the amount in controversy threshold of $75,000 as

set forth in 28 U.S.C. § 1332 as Plaintiff seeks damages in excess of that threshold.

Plaintiff alleges he is owed separation pay of one week's pay for each of 18 years'

service. See Exhibit 1 (Complaint at 2, ¶J 15, 18.) At his stated pay of $49.35 per

hour, this would total approximately $36,000 with a standard workweek of 40


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hours, more if overtime is allegedly for that week. See Exhibit 1 (Complaint at 2, ¶

7.) Additionally, Plaintiff alleges he was not paid overtime from May 31, 2011,

until his last day of work, February 23, 2015. See Exhibit 1 (Complaint at 2, ¶J 11,

13, 19). He ffirther alleges he is owed such overtime at the rate of $74.02 per hour.

See Exhibit 1 (Complaint at 2, ¶ 13.) While Plaintiff does not identify how much

overtime he allegedly worked, if he seeks only three hours a week in overtime,

those requested damages would total approximately $40,000. Thus, in total,

Plaintiff seeks more than $75,000 in damages.

       15.   Further, as evidenced in the Complaint and described below, complete

diversity exists between the parties as required by 28 U.S.C. § 1332. Thus,

diversity jurisdiction does exist.

       16.   As alleged in the Complaint, plaintiff is a resident of Houston County,

Alabama. See Exhibit 1 (Complaint at 1, ¶ 1).

       17.   The corporate defendant is diverse. As noted in the Complaint,

Williams is a foreign limited liability company organized under laws of the State

of Georgia, not an Alabama corporation. See Exhibit 1 (Complaint at 1, ¶ 2). Its

members are not citizens of Alabama, but citizens of Georgia and Texas. See

Exhibit 3 (Declaration of Monte McDowell at 1, ¶ 2).




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      18. Accordingly, as the Complaint itself evidences the amount in

controversy exceeds $75,000 and that the parties are citizens of different states,

removal is proper under 28 U.S.C. § 1332, 1441 and 1446. See Exhibits 1, 3.



      WHEREFORE, Defendant Williams Plant Services, LLC respectfully

requests that the United States District Court for the Middle District of Alabama

accept the removal of this action from the state court and direct that the Circuit

Court of Houston County, Alabama have no further jurisdiction of this matter

unless and until this case is remanded

      Dated this 5th day of April, 2016.

                                Respectfully submitted,


                                TVomas A. Davis (ASB-5877-556T)
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                                Yvonne Norris Maddalena (ASB-3 633-B5 1 Y)
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                                Jackson Lewis LLC
                                800 Shades Creek Parkway, Suite 870
                                Birmingham, AL 35209
                                Facsimile: 205-332-3131
                                ATTORNEYS FOR DEFENDANT




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                         CERTIFICATE OF SERVICE

      I hereby certify that on this the 5th day of April, 2016, a true and correct,
copy of the foregoing has been served via U.S. Mail & Email, as follows:

                                 Tracy W. Cary
               Morris, Cary, Andrews, Talmadge & Driggers, LLC
                             3334 Ross Clark Circle
                             Dothan, Alabama 36303



                                      cflunsel of Record




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